

Strasburg v Chaudhari (2025 NY Slip Op 02493)





Strasburg v Chaudhari


2025 NY Slip Op 02493


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CURRAN, SMITH, AND DELCONTE, JJ.


291 CA 24-00702

[*1]CHARLENE Y. STRASBURG, AS EXECUTOR OF THE ESTATE OF BRUCE H. STRASBURG, DECEASED, PLAINTIFF-RESPONDENT,
vMILIND CHAUDHARI, M.D., ET AL., DEFENDANTS-RESPONDENTS, CHIEMEK J. NWOKONKO, M.D., AND KEYSTONE MEDICAL SERVICES OF NIAGARA FALLS, P.C., DEFENDANTS-APPELLANTS. 






HUTCHESON, AFFRONTI &amp; DEISINGER, P.C., NIAGARA FALLS (MARK R. AFFRONTI OF COUNSEL), FOR DEFENDANTS-APPELLANTS. 
LIPSITZ GREEN SCIME CAMBRIA LLP, BUFFALO (JOHN A. COLLINS OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Niagara County (Frank A. Sedita, III, J.), entered April 16, 2024. The order, insofar as appealed from, denied the motion of defendants Chiemek J. Nwokonko, M.D., and Keystone Medical Services of Niagara Falls, P.C., for summary judgment. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on March 13, 2025,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








